 Case: 4:22-cv-01110-AGF Doc. #: 102 Filed: 02/08/23 Page: 1 of 2 PageID #: 881

                             United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                  St. Louis, Missouri 63102
                                                                               VOICE (314) 244-2400
Michael E. Gans
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 Clerk of Court
                                                                               www.ca8.uscourts.gov

                                                           February 08, 2023


Mr. Terrence A. Oved
OVED & OVED
Fourth Floor
401 Greenwich Street
New York, NY 10013

         RE: 23-1218 Hans Niemann v. Sven Carlsen, et al

Dear Counsel:

Due to a sequencing error with our case numbering system, your case number has been
reassigned from 23-2216 to 23-1218 for this appeal. Please use the new case number when
filing future correspondence and pleadings.

We apologize for any confusion this may cause. Should you require additional assistance, please
do not hesitate to contact our office.




                                                           Michael E. Gans
                                                           Clerk of Court

AEV

Enclosure(s)

cc:      Ms. Caroline Boisvert
         Mr. Benjamin M. Farley
         Mr. Matthew Gartner
         Mr. Michael A. Hale
         Mr. Jeffrey B. Jensen
         Mr. Michael L Jente
         Ms. Katherine Bumb Ledden
         Mr. Gregory J. Linhares
         Ms. Sarah F. Mitchell
         Mr. Nima Mohebbi
         Mr. Darren Oved
         Mr. Neal F. Perryman


      Appellate Case: 23-1218     Page: 1           Date Filed: 02/08/2023 Entry ID: 5243718
Case: 4:22-cv-01110-AGF Doc. #: 102 Filed: 02/08/23 Page: 2 of 2 PageID #: 882

     Ms. Denise Lynne Plunkett
     Mr. James Reilly
     Mr. Craig Matthew Reiser
     Mr. Michael J. Ryan
     Mr. Jacob Richard Schlueter
     Mr. Blake E. Stafford
     Mr. John M. Tanski
     Mr. Derek T. Teeter
     Mr. Spencer Aaron Tolson
     Mr. Andrew J. Urgenson
     Ms. Jaclyn Niccole Warr
     Ms. Jamie Wine
     Ms. Eva Yung


       District Court/Agency Case Number(s): 4:22-cv-01110-AGF




  Appellate Case: 23-1218     Page: 2   Date Filed: 02/08/2023 Entry ID: 5243718
